                                                EXHIBIT
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STAFF GUIDANCE

Implementation of Critical Audit Matters: The Basics
Overview
Requirements for auditors to communicate critical audit matters (CAMs) in the auditor’s
report will phase in starting in 2019, based on the PCAOB’s new standard, AS 3101,
                                                                                                                         What’s included?
The Auditor’s Report on an Audit of Financial Statements When the Auditor Expresses an                                   ✓✓   Overview
Unqualified Opinion. The determination of CAMs is principles-based and depends on                                        ✓✓   What is a CAM?
the facts and circumstances of each audit.
                                                                                                                         ✓✓   Communication of CAMs
The Board adopted these changes to inform investors and other financial statement                                        ✓✓   Required Introductory
users about significant matters in the audit and how they were addressed. This                                                Language
document provides a high-level overview of the CAM requirements based on PCAOB                                           ✓✓   Documentation of CAMs
Release No. 2017-001.                                                                                                    ✓✓   Engagement Quality
                                                                                                                              Reviewer
What is a CAM?                                                                                                           ✓✓   Interactions with the
                                                                                                                              Audit Committee and
  A CAM is defined as any matter arising from the audit of the financial statements                                           Management
  that was communicated or required to be communicated to the audit
  committee and that:
                                                                                                                         ✓✓   CAM Interaction with
                                                                                                                              Explanatory and
   Relates to accounts or disclosures that are material to the financial                                                    Emphasis Paragraphs
     statements; and
   Involved especially challenging, subjective, or complex auditor judgment.


Matters communicated or required to be communicated to the
audit committee
                                                                                                                        When are CAM
CAMs are drawn from matters required to be communicated to the audit committee—even
if not actually communicated—and matters actually communicated—even if not required.                                    requirements effective?
The standard does not exclude any required audit committee communications from                                           Audits of large accelerated
the source of CAMs.                                                                                                        filers: Fiscal years ending on or
                                                                                                                           after June 30, 2019.
Relates to accounts or disclosures that are material to the                                                              Audits of all other companies to
financial statements                                                                                                       which the requirements apply:
                                                                                                                           Fiscal years ending on or after
A CAM is required to relate to accounts or disclosures that are material to the financial                                  December 15, 2020.
statements. A CAM may relate to a component of a material account or disclosure and
does not necessarily need to correspond to the entire account or disclosure in the
financial statements.
This guidance was prepared by PCAOB staff to help firms when implementing CAM requirements. This staff guidance document sets forth the staff’s views on issues
related to the implementation of the rules and standards of the PCAOB. It does not constitute rules of the Board, nor has it been approved by the Board. It supplements
PCAOB Release No. 2017-001, The Auditor’s Report on an Audit of Financial Statements When the Auditor Expresses an Unqualified Opinion
and Related Amendments to PCAOB Standards (June 1, 2017).                                                                                              Staff Guidance
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A CAM may not necessarily relate to a single account or disclosure, but could have a
pervasive effect on the financial statements if it relates to many accounts or disclosures.
A matter that does not relate to a material account or disclosure cannot be a CAM.

Involved especially challenging, subjective, or complex auditor
judgment
The standard provides a list of factors for the auditor to take into account when determining
whether a matter involved especially challenging, subjective, or complex auditor judgment:

 The auditor’s assessment of the risks of material misstatement, including significant risks
 The degree of auditor judgment related to areas in the financial statements that
   involved the application of significant judgment or estimation by management,
   including estimates with significant measurement uncertainty
 The nature and timing of significant unusual transactions and the extent of audit
   effort and judgment related to these transactions                                               Which audits do not
 The degree of auditor subjectivity in applying audit procedures to address the
                                                                                                   require CAMs?
   matter or in evaluating the results of those procedures
 The nature and extent of audit effort required to address the matter, including                 CAMs are not required for audits of:
   the extent of specialized skill or knowledge needed or the nature of consultations
                                                                                                   __ Brokers and dealers
   outside the engagement team regarding the matter
                                                                                                   __ Registered investment
 The nature of audit evidence obtained regarding the matter
                                                                                                      companies other than business
The auditor should also take into account other factors specific to the audit.                        development companies
                                                                                                   __ Employee stock purchase,
Communication of CAMs                                                                                 savings, and similar plans
                                                                                                   __ Emerging growth companies
  When communicating CAMs in the auditor’s report, the auditor is required to
  include introductory language in the “Critical Audit Matters” section of the                     Auditors may early adopt CAM
  auditor’s report.                                                                                requirements or apply them
                                                                                                   voluntarily to audits for which they
  For each CAM communicated in the auditor’s report, the auditor must:                             are not required.

   Identify the CAM;
   Describe the principal considerations that led the auditor to determine that
     the matter is a CAM;
   Describe how the CAM was addressed in the audit; and
   Refer to the relevant financial statement accounts or disclosures that relate
     to the CAM.


Identify the CAM
For each CAM communicated in the auditor’s report, the auditor is required to identify
the CAM.

Describe the principal considerations that led the auditor to
determine that the matter is a CAM
The description of the principal considerations should be specific to the circumstances
and provide a clear, concise, and understandable discussion of why the matter involved
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especially challenging, subjective, or complex auditor judgment. The communication
should be tailored to the audit to avoid standardized language and to reflect the
specific circumstances of the matter.

Describe how the CAM was addressed in the audit
                                                                                                 Which audit period is
In describing how the CAM was addressed in the audit, the auditor may describe any, or           covered by CAMs?
a combination, of the following:
                                                                                                 The standard requires that CAMs
   The auditor’s response or approach that was most relevant to the matter                     only be communicated for the
   A brief overview of the audit procedures performed                                          current audit period.
   An indication of the outcome of the audit procedures
                                                                                                 When the current period’s financial
   Key observations with respect to the matter
                                                                                                 statements are presented on a
When describing CAMs in the auditor’s report, the auditor is not expected to provide             comparative basis with those of one
information about the company that has not been made publicly available by the                   or more prior periods, the auditor
company unless such information is necessary to describe the principal considerations            may communicate CAMs relating
that led the auditor to determine that a matter is a CAM or how the matter was                   to a prior period. This may be
addressed in the audit.                                                                          appropriate, for example, when:

If the auditor chooses to describe audit procedures, the descriptions are expected to             The prior period’s financial
be at a level that investors and other financial statement users would understand. In               statements are made public
addition, the objective is to provide a useful summary, not to detail every aspect of how           for the first time, such as in an
the matter was addressed in the audit.                                                              initial public offering.
Limiting the use of highly technical accounting and auditing terms in the description             Issuing an auditor’s report on
of CAMs, particularly if the auditor chooses to describe audit procedures, may help                 the prior period’s financial
financial statement users better understand these matters in relation to the audit of the           statements because the pre-
financial statements.                                                                               viously issued auditor’s report
Language that could be viewed as disclaiming, qualifying, restricting, or minimizing                could no longer be relied upon.
the auditor’s responsibility for the CAMs or the auditor’s opinion on the financial
statements is not appropriate and may not be used. The language used to
communicate a CAM should not imply that the auditor is providing a separate opinion
on the CAM or on the accounts or disclosures to which they relate.

Refer to the relevant financial statement accounts or
disclosures that relate to the CAM
For each CAM communicated in the auditor’s report, the auditor is required to refer to
the relevant financial statement accounts or disclosures.

Required Introductory Language
The CAM section of the auditor’s report is required to be titled “Critical Audit Matters.”
When communicating CAMs in the auditor’s report, the following introductory language
is required to be included:
     Critical Audit Matters
     The critical audit matters communicated below are matters arising from the
     current period audit of the financial statements that were communicated or
     required to be communicated to the audit committee and that: (1) relate to
     accounts or disclosures that are material to the financial statements and (2)
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    involved our especially challenging, subjective, or complex judgments. The
    communication of critical audit matters does not alter in any way our opinion on
    the financial statements, taken as a whole, and we are not, by communicating
    the critical audit matters below, providing separate opinions on the critical audit
    matters or on the accounts or disclosures to which they relate.
If the auditor communicates CAMs for prior periods, the introductory language should
be modified to indicate the periods to which the CAMs relate.                                     Can an audit have no
If the auditor determines that there are no CAMs, the following language is required:
                                                                                                  CAMs?
    Critical Audit Matters                                                                        The determination of CAMs is based
                                                                                                  on the facts and circumstances
    Critical audit matters are matters arising from the current period audit of the               of each audit. It is expected that,
    financial statements that were communicated or required to be communicated to                 in most audits to which the CAM
    the audit committee and that: (1) relate to accounts or disclosures that are material         requirements apply, the auditor
    to the financial statements and (2) involved our especially challenging, subjective,          will determine at least one CAM.
    or complex judgments. We determined that there are no critical audit matters.                 However, there also may be audits
                                                                                                  in which the auditor determines
Documentation of CAMs                                                                             there are no CAMs.


  For each matter arising from the audit of the financial statements that:

  (1) Was communicated or required to be communicated to the audit
      committee; and

  (2) Relates to accounts or disclosures that are material to the financial
      statements;

  the auditor must document whether or not the matter was determined to be
  a CAM (i.e., involved especially challenging, subjective, or complex auditor
  judgment) and the basis for such determination.

Consistent with the requirements of AS 1215, Audit Documentation, the audit
documentation is required to be in sufficient detail to enable an experienced
auditor, having no previous connection with the engagement, to understand the
determinations made to comply with the provisions of AS 3101.

 For matters determined to be CAMs, the description in the auditor’s report (which,
   among other things, must describe the principal considerations that led the
   auditor to determine that a matter was a CAM) will generally suffice as documentation.
 For matters determined not to be CAMs, the amount of documentation required could
   vary with the circumstances. A single sentence may be sufficient, for instance, when
   the auditor’s documentation prepared in the course of the audit includes sufficient
   detail about why the matter did not involve especially challenging, subjective, or
   complex auditor judgment. Other matters may require more extensive
   documentation.

Engagement Quality Reviewer (EQR)
The objective of the EQR is to perform an evaluation of the significant judgments made
by the engagement team and the related conclusions reached in forming the overall
conclusion on the engagement and in preparing the engagement report.

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The EQR is required to evaluate the engagement team’s determination,
communication, and documentation of CAMs (see paragraph .10j of AS 1220,
Engagement Quality Review). The documentation requirements for CAMs will facilitate
review by the EQR.

Interactions with the Audit Committee and
Management
Any matter that will be communicated as a CAM should already have been discussed
with the audit committee, and the auditor is required to provide a draft of the auditor’s
report to the audit committee and discuss the draft with them (see paragraph .21 of AS
1301, Communications with Audit Committees).
As the auditor determines how best to comply with the communication requirements,
the auditor could discuss with management and the audit committee the treatment of
any sensitive information.

CAM Interaction with Explanatory and
Emphasis Paragraphs
CAMs and explanatory paragraphs
CAMs are not a substitute for required explanatory paragraphs. There are circumstances
in which the auditor is required to add explanatory language to the auditor’s report,
such as when there is substantial doubt about the company’s ability to continue as
a going concern or a restatement of previously issued financial statements, among
others. There could be situations in which a matter meets the definition of a CAM and             Stay Connected to PCAOB
also requires an explanatory paragraph, such as going concern.
For these situations, both the explanatory paragraph and the required communication                          Contact Us for
regarding the CAM would be provided, by either:                                                              Standard-Related
 Including the required communications for a CAM in the explanatory paragraph,                              Inquiries
   with a cross-reference in the CAM section to the explanatory paragraph, or
 Including both the explanatory paragraph and the CAM communication separately                             Subscribe to the
   in the auditor’s report, with a cross-reference between the two sections. When both
   an explanatory paragraph and a CAM communication are provided, the CAM
                                                                                                             Research and
   description should not include conditional language that would not be                                     Standard-Setting
   permissible in the explanatory paragraph (see footnote 5 of AS 2415, Consideration                        Updates
   of an Entity’s Ability to Continue as a Going Concern).

CAMs and emphasis paragraphs                                                                                 LinkedIn
If a matter that the auditor considers emphasizing meets the definition of a CAM, the
auditor would provide the information required for a CAM, and would not be expected                          @PCAOBNews
to include an emphasis paragraph in the auditor’s report.




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